        Case 2:17-cv-04540-WB Document 260 Filed 11/13/20 Page 1 of 30




                       UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


COMMONWEALTH OF PENNSYLVANIA and
STATE OF NEW JERSEY,

                            Plaintiffs,

                     v.                                  No. 2:17-cv-04540-WB

DONALD J. TRUMP, in his official capacity as
President of the United States; ALEX M. AZAR II, in
his official capacity as Secretary of Health and Human
Services; UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES; STEVEN T.
MNUCHIN, in his official capacity as Secretary of the
Treasury; UNITED STATES DEPARTMENT OF THE
TREASURY; EUGENE SCALIA, in his official
capacity as Secretary of Labor; UNITED STATES
DEPARTMENT OF LABOR; and UNITED STATES
OF AMERICA.

                            Defendants.


  OPPOSITION TO DEFENDANTS’ MOTIONS FOR SUMMARY JUDGMENT AND
    REPLY IN SUPPORT OF STATES’ MOTION FOR SUMMARY JUDGMENT


GURBIR S. GREWAL                                   JOSH SHAPIRO
Attorney General                                   Attorney General
State of New Jersey                                Commonwealth of Pennsylvania

MELISSA L. MEDOWAY                                 MICHAEL J. FISCHER
ELSPETH FAIMAN HANS                                Chief Deputy Attorney General
Deputy Attorneys General                           JACOB B. BOYER
New Jersey Attorney General’s Office               AIMEE D. THOMSON
Richard J. Hughes Justice Complex                  Deputy Attorneys General
25 Market Street                                   Office of Attorney General
Trenton, NJ 08625                                  1600 Arch Street, Suite 300
(609) 376-2752                                     Philadelphia, PA 19103
elspeth.hans@law.njoag.gov                         (267) 768-3968
                                                   jboyer@attorneygeneral.gov
November 13, 2020
            Case 2:17-cv-04540-WB Document 260 Filed 11/13/20 Page 2 of 30




                                                  TABLE OF CONTENTS

TABLE OF AUTHORITIES .......................................................................................................... ii
INTRODUCTION .......................................................................................................................... 1
     I. The Rules Are Arbitrary and Capricious ............................................................................ 2
          A. The Religious Rule Is Not a Reasonable Solution to Any Conflict
             between the Contraceptive Mandate and the Religious Freedom
             Restoration Act ............................................................................................................. 2
          B. The Agencies Failed to Provide a Reasoned Explanation for Their
             Reversal on the Safety, Efficacy, and Benefits of Contraception ................................. 8
          C. The Agencies Provided No Reasoned Justification for the Moral Rule ....................... 9
          D. The Agencies Failed to Consider Significant Comments ........................................... 10
          E. The Agencies’ Regulatory Impact Analysis Is Arbitrary and
             Capricious ................................................................................................................... 12
     II. The Rules Are Contrary to Law ........................................................................................ 14
          A. The Religious Rule Violates the Establishment Clause .............................................. 14
          B. The Rules Create an Unreasonable Barrier to the Availability of
             Appropriate Medical Care in Violation of Section 1554 of the
             Affordable Care Act .................................................................................................... 16
          C. The Rules Violate the Equal Protection Provisions of the Fifth
             Amendment ................................................................................................................. 18
          D. The Rules Violate Section 1557 of the ACA and Title VII of the Civil
             Rights Act ................................................................................................................... 19
     III. The States Have Standing ................................................................................................. 21
     IV. Little Sisters’ Other Arguments Should Be Rejected ....................................................... 23
     V. The Rules Must Be Vacated ............................................................................................. 24
CONCLUSION ............................................................................................................................. 25




                                                                      i
             Case 2:17-cv-04540-WB Document 260 Filed 11/13/20 Page 3 of 30




                                                  TABLE OF AUTHORITIES

                                                     Constitutional Provisions

U.S. Const. art. II, § 2 cl. 2. .......................................................................................................... 23

                                                                     Cases

Bastardo-Vale v. Attorney Gen. United States, 934 F.3d 255 (3d Cir. 2019) (en
   banc) ......................................................................................................................................... 7

Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682 (2014) ..................................................... 5, 15

California by & through Becerra v. Azar, 950 F.3d 1067 (9th Cir. 2020) (en banc) ................... 17

Camp v. Pitts, 411 U.S. 138 (1973) ................................................................................................ 9

Corp. of Presiding Bishop of Church of Jesus Christ of Latter-day Saints v. Amos,
   483 U.S. 327 (1987) ................................................................................................................ 15

Cutter v. Wilkinson, 544 U.S. 709 (2005) ..................................................................................... 15

DeOtte v. Azar, 393 F.Supp. 3d 490 (N.D. Tex 2019).................................................................. 23

Dep’t of Commerce v. New York, 139 S. Ct. 2551 (2019) .............................................................. 1

Dep’t of Homeland Sec. v. Regents of the Univ. of Cal., 140 S. Ct. 1891 (2020) ........................ 24

Encino Motorcars, LLC v. Navarro, 136 S. Ct. 2117 (2016) ......................................................... 4

Epic Sys. Corp. v. Lewis, 138 S. Ct. 1612 (2018) ....................................................................... 4, 6

Estate of Thornton v. Caldor, Inc., 472 U.S. 703 (1985).............................................................. 15

FCC v. NextWave Pers. Commc’ns Inc., 537 U.S. 293 (2003) ...................................................... 1

Franciscan Alliance, Inc. v. Burwell, 227 F. Supp. 3d 660 (N.D. Tex. 2016) ............................. 21

Grote v. Sebelius, 708 F.3d 850 (7th Cir. 2013) ........................................................................... 19

Gundy v. United States, 139 S. Ct. 2116 (2019) ........................................................................... 23

J.E.B. v. Alabama ex rel. T.B., 511 U.S. 127 (1994) .................................................................... 18

K Mart Corp. v. Cartier, Inc., 486 U.S. 281 (1988) ..................................................................... 25

Little Sisters of the Poor Saints Peter & Paul Home v. Pennsylvania, 140 S. Ct.
    2367, 2383 (2020) ............................................................................................................ passim


                                                                         ii
             Case 2:17-cv-04540-WB Document 260 Filed 11/13/20 Page 4 of 30




Mayor of Baltimore v. Azar, 973 F.3d 258 (4th Cir. 2020) (en banc) .............................. 11, 12, 17

Motor Vehicle Mfrs. Ass’n of U.S., Inc., v. State Farm Mut. Auto Ins. Co., 463
   U.S. 29 (1983) ........................................................................................................................... 2

Nat’l Ass’n for the Advancement of Colored People v. Trump, 315 F. Supp. 3d
   457 (D.D.C. 2018) .................................................................................................................. 24

New York v. U.S. Dep’t of Health & Human Servs., 414 F. Supp. 3d 475
   (S.D.N.Y. 2019) ...................................................................................................................... 19

NRDC v. EPA, 822 F.2d 104 (D.C. Cir. 1987) ............................................................................. 10

Our Lady of Guadalupe Sch. v. Morrissey-Berru, 140 S. Ct. 2049 (2020) .................................. 16

Pennsylvania v. President, 888 F.3d 52 (3d Cir. 2018) ................................................................ 23

Pennsylvania v. President, 930 F.3d 543 (3d Cir. 2019), rev’d and remanded on
   other grounds ................................................................................................................ 7, 21, 24

Pennsylvania v. Trump, 351 F. Supp. 3d 791 (E.D. Pa. 2019), rev’d and remanded
   on other grounds ........................................................................................................... 7, 21, 24

Real Alternatives, Inc. v. Sec’y Dep't of Health & Human Servs., 867 F.3d 338 (3d
   Cir. 2017) .................................................................................................................................. 6

SEC v. Chenery, 318 U.S. 80 (1943) .............................................................................................. 5

Telocator Network of Am. v. FCC, 691 F.2d 525 (D.C. Cir. 1982) .............................................. 10

United States v. Virginia, 518 U.S. 515 (1996) ............................................................................ 18

                                                                   Statutes

1 U.S.C. § 1 ..................................................................................................................................... 5

20 U.S.C. § 1681(a) ...................................................................................................................... 20

20 U.S.C. § 1681(a)(3) .................................................................................................................. 20

42 U.S.C. § 18114(1) .................................................................................................................... 16

42 U.S.C. § 18116(a) .................................................................................................................... 20

42 U.S.C. § 2000bb-1(a) ................................................................................................................. 4

42 U.S.C. § 2000e-5 ...................................................................................................................... 19

42 U.S.C. § 300gg-13(a)(4) ............................................................................................................ 2

                                                                        iii
            Case 2:17-cv-04540-WB Document 260 Filed 11/13/20 Page 5 of 30




5 U.S.C. § 706(2) .......................................................................................................................... 24

                                                      Rules and Regulations

45 C.F.R. § 147.131(c)(2) ............................................................................................................... 3

45 C.F.R. § 147.132(a)(2) ............................................................................................................... 3

45 C.F.R. § 46.202(f) ...................................................................................................................... 9

45 C.F.R. Part 147......................................................................................................................... 24

                                                         Other Authorities

DeOtte v. Azar, No. 19-10754 (5th Cir.)....................................................................................... 23

Transcript of Oral Argument, Little Sisters of the Poor Saints Peter and Paul
   Home, 140 S. Ct. 2367 (2020) (Nos. 19-431 & 19-454) ........................................................ 21




                                                                      iv
         Case 2:17-cv-04540-WB Document 260 Filed 11/13/20 Page 6 of 30




                                        INTRODUCTION

       Both the Agencies and Littler Sisters trumpet the Supreme Court’s decision that the

Agencies may create exemptions from the contraceptive mandate, and may account for potential

conflicts with the Religious Freedom Restoration Act (RFRA) when doing so, as if it is

conclusive for the issues that remain in this case. But it is not. No matter the scope agency

discretion, the exercise of that discretion must reflect reasoned decisionmaking. Dep’t of

Commerce v. New York, 139 S. Ct. 2551, 2569 (2019). And it must conform to all laws. FCC v.

NextWave Pers. Commc’ns Inc., 537 U.S. 293, 300 (2003). The Supreme Court has not assessed

the rules at issue in this case against those standards. And held against them, the rules fail.

       The Religious Rule, J.A. 1–55, and the Moral Rule, J.A. 56–95, purport to resolve

conflicts between the contraceptive mandate and employers’ religious or moral objections to

providing that coverage. But the rules sweep far beyond that stated purpose. The Agencies also

finalized the two rules without meaningfully engaging with the Agencies’ prior conflicting

position on the benefits of contraception and without responding to a medical consensus at odds

with the Agencies’ medical conclusions. What is more, the rules violate the Establishment

Clause, constitutional and statutory protections against sex-based discrimination, and the

direction that the Secretary of Health and Human Services (HHS) not promulgate regulations

that impair access to appropriate medical case.

       The consequence of the Agencies’ unreasoned rules, and constitutional and statutory

violations, is that 126,400 women—and likely more given the Agencies’ flawed methodology for

estimating the rules’ effects—are about to lose coverage for care that the Women’s Preventive

Services Guidelines (“Guidelines”) deem “necessary for women’s health and well-being.” J.A.

312-A. The remedy for these errors is to vacate the Religious Rule and the Moral Rule.



                                                  1
           Case 2:17-cv-04540-WB Document 260 Filed 11/13/20 Page 7 of 30




  I.   The Rules Are Arbitrary and Capricious

       A. The Religious Rule Is Not a Reasonable Solution to Any Conflict between the
          Contraceptive Mandate and the Religious Freedom Restoration Act

       The Supreme Court has ruled that the discretion afforded to the Agencies under the

Affordable Care Act’s Women’s Health Amendment, 42 U.S.C. § 300gg-13(a)(4), allows the

Agencies to devise a solution to conflicts between the contraceptive mandate and RFRA, Little

Sisters of the Poor Saints Peter & Paul Home v. Pennsylvania, 140 S. Ct. 2367, 2383 (2020).

Resolving those conflicts ostensibly was the impetus for the Religious Rule, J.A. 8–13, and so

that rule must be reasonably tailored to accomplish that objective, see Motor Vehicle Mfrs. Ass’n

of U.S., Inc., v. State Farm Mut. Auto Ins. Co., 463 U.S. 29, 43 (1983).1

       Yet the scope of the Religious Rule reveals that it cannot reasonably be understood as

remedying conflicts with RFRA. The Religious Rule allows entities for which the existing

Accommodation resolved any conflict with RFRA still to invoke the new exemption. Entities,

including publicly traded corporations, may invoke the new exemption even if compliance with

the mandate or Accommodation does not substantially burden their religious exercise and

without the Agencies assessing the sincerity of the underlying religious belief. So even if the

Religious Rule resolves some RFRA violations, see Fed. Opp’n at 27; LS Opp’n at 21, these

discrepancies, alone and cumulatively, demonstrate that the Religious Rule is not reasonably

tailored for that purpose, making it arbitrary and capricious.

       To begin, the Religious Rule allows employers for whom the Accommodation resolved

any conflict between the mandate and RFRA to remove contraception from their employees’


       1
         Little Sisters defends the Agencies’ choice to consider conflicts with RFRA while
exercising their discretion under the Women’s Health Amendment. LS Opp’n at 17-19, ECF No.
255-1. The States have not argued that the Agencies may not consider RFRA violations when
exercising their rulemaking authority.

                                                 2
           Case 2:17-cv-04540-WB Document 260 Filed 11/13/20 Page 8 of 30




insurance plans anyway. Pls.’ Mem. at 15–16, ECF No. 252-1.This flaw is not about imprecise

line drawing, contra Fed. Opp’n at 10-11, ECF No. 254-1, but instead reveals a disconnect

between the problem the Religious Rule identifies and the solution it creates. The Agencies

needed some reasonable explanation why employers for whom the Accommodation resolved any

conflict with RFRA may claim the exemption all the same—particularly because the exemption,

but not the Accommodation, denies employees coverage for care that the Guidelines still call

“necessary for women’s health and well-being.” J.A. 312-A.2 Rather than supplying an

explanation, the Agencies express confidence that this problem is inconsequential because no

entity satisfied with the Accommodation will invoke the exemption. Fed. Opp’n at 11. But the

record belies that assurance: The Religious Rule acknowledges that entities content with the

Accommodation might use the exemption. J.A. 41–42.

       Little Sisters—but not the Agencies—denies that the Religious Rule permits an employer

to invoke the exemption when the Accommodation would resolve a conflict with RFRA. LS

Opp’n at 34–36, ECF No. 255-1. That assertion cannot be squared with the rule, which makes

the Accommodation only a voluntary alternative to the exemption. 45 C.F.R. § 147.131(c)(2).

The Religious Rule’s preamble also contradicts Little Sisters’ position, explaining that the

Accommodation is “optional for entities that are otherwise also eligible for the expanded

exemptions” and remains “an option that exempt entities can choose.” J.A. 34. And the

exemption is available to an entity that objects to any of “establishing, maintaining, providing,

offering, or arranging” for payment for contraceptive coverage. 45 C.F.R. § 147.132(a)(2).




       2
         The Moral Rule shares this flaw. Contra Fed Opp’n at 11 n.4. Those with moral
objections to covering contraception can claim the exemption even if an alternative, such as the
Accommodation, would resolve any objection.

                                                 3
         Case 2:17-cv-04540-WB Document 260 Filed 11/13/20 Page 9 of 30




       Next, the Religious Rule is not limited to instances in which compliance with the

mandate or the Accommodation imposes a substantial burden, Pls.’ Mem at 15, which is a

predicate for any RFRA violation, 42 U.S.C. § 2000bb-1(a). That requiring coverage of

contraception, or monetary penalties for refusing to do so, can impose a substantial burden on

religious exercise, see Fed. Opp’n at 12; LS Opp’n at 20, says nothing about whether the

Religious Rule reasonably targets those cases. Little Sisters misunderstands this problem as just a

failure to require proof of a RFRA violation. LS Opp’n at 19–20. Omitting the substantial burden

requirement, however, expands the availability of the exemption beyond RFRA violations and so

divorces the Religious Rule from its purpose.

       The Religious Rule’s inclusion of publicly traded corporations accomplishes a similar

unreasoned expansion. Whether RFRA applies to publicly traded corporations reflects an

interpretation of a statute that the Agencies do not administer. Courts have the last word in such a

case. Epic Sys. Corp. v. Lewis, 138 S. Ct. 1612, 1629 (2018). Therefore, the Agencies’ legal

conclusions about whether RFRA covers publicly traded companies must, at least, make sense

under the relevant precedent. It is not enough that the Religious Rule’s legal conclusions about

RFRA’s application to publicly traded companies can be “discerned.” Fed. Opp’n at 12-13. That

may suffice when an agency makes a factually-informed policy judgment, Encino Motorcars,

LLC v. Navarro, 136 S. Ct. 2117, 2125 (2016), but that is not the posture here.

       Against the proper standard, the Agencies have not justified extending the Religious Rule

to publicly traded corporations. The Agencies concluded that RFRA applies to those entities

solely because 1 U.S.C. § 1 defines person to include corporations. J.A. 27. Yet that rationale

was not, by itself, sufficient for the Supreme Court to extend RFRA even to closely held

companies. Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682, 705–09 (2014); see also Pls.’



                                                 4
          Case 2:17-cv-04540-WB Document 260 Filed 11/13/20 Page 10 of 30




Mem. at 16. And the Religious Rule made the additional leap from closely held corporations to

publicly traded corporations based on 1 U.S.C. § 1 alone even though Hobby Lobby expressed

doubt about a publicly traded company having religious beliefs for purposes of RFRA. Id. at 717.

Without citing any authority, the Religious Rule decided that this uncertain legal question

actually is a “matter of well-established State law.” J.A. 27 & n.61 (citing only the Agencies’

expectations). The Agencies know of no publicly traded company for which the mandate

presents a problem under RFRA, Fed. Opp’n at 13, but that only further signals that the

Religious Rule is not addressed to actual RFRA violations. Finally, the Agencies insist that even

if they misinterpreted RFRA, they still could have exercised discretion under the Women’s

Health Amendment to arrive at the same conclusion. Fed. Opp’n at 13. Agency action is judged

only on the reasons actually given, SEC v. Chenery, 318 U.S. 80, 88 (1943), and regardless there

is nothing in the record justifying such a significant expansion of the exemption as a policy

choice.

          Nor does the Religious Rule provide any mechanism to evaluate the sincerity of an

objector’s religious belief. Omitting such a mechanism will be inconsequential, according to

defendants, because employees have existing ways to challenge the sincerity of their employer’s

religious beliefs if needed. Fed. Opp’n at 13–14; LS Opp’n at 20–21. Even if employees may

rely on the Public Health Service Act, the Internal Revenue Code, or ERISA to recoup

wrongfully withheld care, J.A. 23, that the Religious Rule outsources the responsibility for

ensuring compliance with RFRA further exhibits that the rule itself makes no effort to limit its

effect to where the mandate and RFRA actually collide.

          The Agencies’ inattentiveness to actual conflicts is especially unreasonable because

unnecessary expansions of the exemption will lead to significant harm. The Guidelines still



                                                  5
        Case 2:17-cv-04540-WB Document 260 Filed 11/13/20 Page 11 of 30




include contraception as a necessary form of care, J.A. 312-A, but women working for an

employer who claims the exemption will lose coverage. Without that coverage, contraceptive

care becomes harder to access. J.A. 434. Each way the Religious Rule extends beyond actual

conflicts, then, causes significant harm. That harm demands some justification.

       Whether the Religious Rule resolves some RFRA violations is immaterial to whether the

rule reasonably targets only those violations, and it does not make the rule’s over-expansiveness

harmless. Contra Fed. Opp’n at 27; LS Opp’n at 21. Yet as it is, the Religious Rule is

independently arbitrary and capricious because the Agencies failed to adequately justify that the

Religious Rule resolves any actual RFRA conflicts. RFRA is a remedial statute that the Agencies

do not administer, giving courts final say over its meaning. See Epic, 138 S. Ct. at 1629 (“[O]n

no account might we agree that Congress implicitly delegated to an agency authority to address

the meaning of a second statute it does not administer.”). So a rule promulgated to remedy RFRA

conflicts must be guided by judicial decisions about what RFRA prohibits. That the Agencies

can exercise their rulemaking discretion to resolve RFRA violations, as Little Sisters held, does

not free them to decide what violates RFRA independent of the relevant judicial decisions.

       While the Agencies insist that the Religious Rule discussed the relevant legal authority

and issues “at length,” Fed. Opp’n at 14, they overstate matters. As to substantial burden, the

Agencies made no effort to reconcile their position with the overwhelming contrary case law,

including what was then the only post-Zubik appellate decision. Real Alternatives, Inc. v. Sec’y

Dep't of Health & Human Servs., 867 F.3d 338, 356 n.18 (3d Cir. 2017) (concluding that the

Accommodation does not impose a substantial burden). Rather, the Agencies cited the one

outlier case and moved on. J.A. 11 (citing an Eighth Circuit decision concluding that the

Accommodation imposes a substantial burden, but none of the other eight appellate decisions



                                                 6
         Case 2:17-cv-04540-WB Document 260 Filed 11/13/20 Page 12 of 30




ruling differently). Thus, the problem is not that the Agencies have a different view than that of

the States, but instead that the Agencies arrived at their conclusion without even grappling with

the contrary judicial consensus. Agencies are not at liberty to disregard court decisions in such a

way. See Bastardo-Vale v. Attorney Gen. United States, 934 F.3d 255, 259 n.1 (3d Cir. 2019) (en

banc).

         Beyond that, the Agencies’ reliance on RFRA as the impetus for the Religious Rule also

means that if now, in the Court’s view, the rule is not needed to remedy any conflicts, the

rationale furnished for the Religious Rule does not exist. That is the case here, and it separately

makes the Religious Rule arbitrary and capricious. For reasons this Court has already given,

Pennsylvania v. Trump (“Pennsylvania I”), 351 F. Supp. 3d 791, 821–27 (E.D. Pa. 2019), rev’d

and remanded on other grounds, and which the Third Circuit has affirmed, Pennsylvania v.

President (“Pennsylvania II”), 930 F.3d 543, 572–74 (3d Cir. 2019), rev’d and remanded on

other grounds, the status quo before the Religious Rule did not violate RFRA. The Supreme

Court did not reach this issue, Little Sisters, 140 S. Ct. at 2382, and thus did not disturb the

reasoning in either opinion.

         This Court’s earlier analysis was, and remains, correct. Indeed, the Agencies now

recognize that even with the exemption, “an employer seeking to provide insurance that excludes

coverage for contraceptives will in fact need to communicate that direction to their insurer or

[third party administrator].” Fed. Opp’n at 13. The Agencies’ point confirms what the States

have argued all along: the Accommodation does not “trigger” the provision of contraceptive

coverage and so does not impose a substantial burden on religious exercise. The obligation to

provide coverage lies with the insurer and invoking the Accommodation only removes the

employer from the equation.



                                                  7
        Case 2:17-cv-04540-WB Document 260 Filed 11/13/20 Page 13 of 30




       B. The Agencies Failed to Provide a Reasoned Explanation for Their Reversal on
          the Safety, Efficacy, and Benefits of Contraception

       While the Agencies had previously acknowledged the health benefits of contraception, in

the rules they conclude that evidence of contraception’s safety is mixed. At the outset,

defendants claim that moving from a place of confidence to a place of uncertainty is not actually

a changed position. Fed. Opp’n at 19; LS Opp’n at 31. Yet moving from “there is a consensus”

to “there is no consensus” is a change in position, and the Agencies did not justify that change.

       First, that all 18 forms of FDA-approved contraception may have side effects does not

justify discounting the costs of eliminating access to contraceptive care. Fed. Opp’n at 17. No

person uses all 18 forms of contraception. If, for a single person, any one of the various forms of

contraception can be safely prescribed, the cost of eliminating access to that method cannot be

reduced because the other 17 would not have been prescribed for that individual. Similarly, the

Agencies highlight the Religious Rule’s citation to studies showing side effects of contraceptive

use as sufficient evidence to now doubt contraception’s benefits. Fed. Opp’n at 19 (citing J.A.

17–18 & nn.28–34). But those studies relate to oral and hormonal contraceptives, which

comprise just a few of the FDA-approved methods. Once more, the Agencies side-step that

contraception, like any medicine, is prescribed individually. Doctors and patients can identify

what contraceptive method will work for a particular person—which may not be an oral or

hormonal contraceptive method.

       Second, non-medical considerations informed the Agencies’ medical analysis. Contra

Fed. Opp’n at 18. The Agencies’ review of the “Health Effects of Contraception and Pregnancy”

included whether some forms of approved contraception are abortifacients. J.A 18. The Agencies

concluded the answer was uncertain because people define pregnancy to begin a different points

based on religious beliefs. J.A. 19. The Agencies claim that they did not rely on such beliefs as


                                                 8
           Case 2:17-cv-04540-WB Document 260 Filed 11/13/20 Page 14 of 30




part of this medical analysis because, in the end, they did not take a position on when pregnancy

begins. Yet using non-medical beliefs to manufacture a medical debate is just as arbitrary as

using them to resolve a medical debate. To make matters worse, the Agencies relied on non-

medical sources to suggest disagreement about when pregnancy begins despite HHS’s existing

definition of pregnancy as beginning at implantation. See 45 C.F.R. § 46.202(f).

           Third, the Agencies retreated without justification from their earlier position that

contraception reduces teen pregnancy. Here, the Agencies do not suggest a new evidentiary basis

for the change, but instead insist that they had not previously taken a position. Fed. Opp’n at 18–

19. Yet HHS’ Office of Adolescent Health has embraced research showing that contraception

reduced teen pregnancy. J.A. 2561.3 Although the Agencies suggest doing so was not taking a

position, the difference between definitive pronouncements and embracing research is semantic

at best.

           Finally, the Agencies changed their position about the efficacy of contraception without

discussing that contraceptive equity laws, like that of Colorado, successfully reduced both

unintended pregnancy and abortion. They now deny overlooking that evidence, Fed Opp’n at 20,

but the Religious Rule plainly failed to consider that evidence because it stated that no comment

“point[ed] to studies showing those state mandates reduced unintended pregnancies,” J.A. 20.

           C. The Agencies Provided No Reasoned Justification for the Moral Rule

           The Agencies’ justification for the Moral Rule is similarly lacking. Congress may not

have included anything in the Women’s Health Amendment specifically precluding the Agencies

from creating moral exemptions to the Guidelines, Little Sisters, 140 S. Ct. at 2381, but


           3
         Whether agency action is arbitrary and capricious is judged based on information
contained in the administrative record. Camp v. Pitts, 411 U.S. 138, 142 (1973). HHS’s earlier
report on trends in teen pregnancy, however, only documents HHS’s prior position.

                                                     9
        Case 2:17-cv-04540-WB Document 260 Filed 11/13/20 Page 15 of 30




Congress’s expectations matter all the same because the Agencies justified the Moral Rule as

fulfilling Congress’s expectations, J.A. 64. Specifically, the Agencies created that rule because,

“[i]t is not clear to the Departments that, if Congress had expressly mandated contraceptive

coverage in the ACA, it would have done so without providing for similar [moral] exemptions.

Therefore, the Departments consider it appropriate, to the extent we impose a contraceptive

Mandate by the exercise of agency discretion, that we also include an exemption for the

protection of moral convictions in certain cases.” J.A. 67; see also id. (calling the Moral Rule

“consistent with the scope of exemptions that Congress has established in similar contexts”). So

to the extent the Agencies unreasonably judged Congress’s expectations, the Moral Rule is

arbitrary and capricious. That is precisely what happened. Standard methods of statutory

interpretation, the legislative record, and subsequent legislative history all unavoidably impress

that Congress did not anticipate a moral exemption would be included if contraception was

included in the Guidelines. Pls.’ Mem. at 26–28.

       D. The Agencies Failed to Consider Significant Comments

       Ninety-nine percent of public comments opposed the rules. Pls.’ Mem. at 29. While

rulemaking is not simply about counting comments, Fed. Opp’n at 22, the “[p]resence in the

record of substantial quantities of adverse comment may signal clear error of agency judgment,”

Telocator Network of Am. v. FCC, 691 F.2d 525, 538 n.106 (D.C. Cir. 1982). The Agencies,

relying on NRDC v. EPA, 822 F.2d 104 (D.C. Cir. 1987), suggest that the volume of comments

against the rules is immaterial, but that case addressed whether the weight of comments,

“without more,” could demonstrate that an agency’s on the record fact finding was not supported

by substantial evidence. Id. at 122 n.17. That is not the posture the here. Plus, there is far “more.”

       The imbalance of comments is relevant, first, because the Agencies justified the rules as

responsive to comments. See, e.g., J.A. 11 (explaining that the Religious Rule was needed to
                                                 10
        Case 2:17-cv-04540-WB Document 260 Filed 11/13/20 Page 16 of 30




respond to concerns raised in comments about the religious burden caused by complying with

either the mandate or Accommodation); J.A. 59 & n.5 (noting that commenters had supported a

moral exemption prior to 2017). Presenting the rules as responsive to commenters’ interests

without addressing that the overwhelming weight of comments opposed the rules is clear error of

judgment. The error is particularly stark for the Moral Rule because the Agencies have not

identified any part of the ten supportive comments expressing a non-religious moral objection to

contraception.

       Moreover, the Agencies did not respond to comments from the medical community that

voiced concerns with many of the Agencies’ medical judgments. A comment’s significance may

typically depend on its content rather than its author, Fed Opp’n at 22–23 (citing City of Portland

v. EPA, 507 F.3d 706 (D.C. Cir. 2007)), but in this context the content and author of are not so

easily separated. Medical comments are relevant because they come from medical experts, and a

rule that espouses medical judgments, as here, is arbitrary if it fails to confront a contrary

consensus from medical experts. The en banc Fourth Circuit just ruled another of HHS’s rules

was arbitrary and capricious for this very reason. Mayor of Baltimore v. Azar, 973 F.3d 258,

276–79 (4th Cir. 2020) (en banc).

       Further, the Agencies claim to have responded to comments expressing a concern about

the Religious Rule’s effect on access to contraceptive counseling, Fed. Opp’n at at 24, but they

do so by pointing to the Religious Rule’s estimation that contraceptive methods are available

outside employer-provided insurance plans, J.A. 21. And even that tangentially relevant answer

is belied by comments about the limited capacity of state- and federally-funded programs—an

issue raised in yet another set of comments that the Agencies did not answer. Several

commenters identified funding shortages for Title X clinics as reason to doubt that those clinics



                                                  11
        Case 2:17-cv-04540-WB Document 260 Filed 11/13/20 Page 17 of 30




could meet any increased need caused by the rules. See Pls.’ Mem. at 29–30 (collecting

comments). The Agencies claim to have discussed those comments, Fed. Opp’n at 23–24 (citing

J.A. 16), but in fact discussed limits on patient eligibility for Title X clinics. Whether Title X

clinics have funding to absorb any increased demand has different—and broader—implications

than whether only some of those who lose coverage will be eligible to go to a Title X clinic.

       Finally, this Court has not definitively ruled on the adequacy of the Agencies’ response to

significant comments. Contra Fed. Opp’n at 23; LS Opp’n at 32. This Court’s earlier decision

reached only the few comments submitted with the States’ preliminary injunction motion, which

was filed before the administrative record was available. See Pennsylvania I, 351 F. Supp. 3d at

811–12.The Supreme Court has not reached this question either. Contra LS Opp’n at 32. The

Supreme Court said only as a descriptive matter that the Agencies responded to comments

between the interim and final rules. Little Sisters, 140 S. Ct. at 2378.

       E. The Agencies’ Regulatory Impact Analysis Is Arbitrary and Capricious

       In the end, the Agencies concluded that the benefits of the rules outweigh their costs.

While the Agencies’ balancing of the costs and benefits may be owed some deference, Fed.

Opp’n at 24–2, the Agencies may not calculate the costs and the benefits in an arbitrary manner.

And as the en banc Fourth Circuit recently explained, an agency’s estimate of the costs of its rule

must be based on “figures that make at least some modicum of sense” instead of those “pulled

from thin air.” Baltimore, 973 F.3d at 282 (cleaned up). That did not happen here.

       First, the rules omitted the dependents of policyholders that use the individual exemption

in the estimate of people who will lose coverage. Both defendants incorrectly claim that group

was excluded because the Agencies assumed that dependents of people who claim the individual

exemption will share the faith of the policyholder, Fed Opp’n at 25; LS Opp’n at 33, but

defendants cite nothing in the rules reflecting that assumption.
                                                  12
        Case 2:17-cv-04540-WB Document 260 Filed 11/13/20 Page 18 of 30




       Second, in the interim Religious Rule, the Agencies had assumed that 1,027,000 people

received insurance from an entity that had been using the Accommodation before the Religious

Rule, and that 75% of them, or about 770,000, received insurance through one of 100 religious

hospitals or health systems the Agencies believed would continue using the Accommodation

despite the new rule. J.A. 127. The Agencies assumed the remaining 25%, or roughly 257,000

people, worked for one of 109 entities that the Agencies expected would take advantage of the

exemption. J.A. 127. In the final Religious Rule, the Agencies assumed that in fact 2,907,000

people received insurance from an entity that previously used the Accommodation. J.A. 42.

Despite the almost threefold increase from the interim rule, the Agencies still assumed that those

2.9 million people all received insurance through the same 209 entities identified in the interim

Religious Rule and that 75% of them—or 2,180,000 people—received coverage from one of the

100 religious hospital or health systems that would stick with the Accommodation. J.A. 42.

       Adhering to that number of entities and assumed distribution, however, meant that the

100 hospitals and health systems added, on average, 7,000 policyholders each in just two years.

The Religious Rule makes no effort to explain sticking to its earlier assumptions despite the

extraordinary implications. And assuming that the number of entities supplying coverage to

those people was still just 209 despite the near threefold increase in total people covered allowed

the Agencies to keep to their assumption that the 100 hospitals and health systems provided

coverage to 75% of all people. J.A. 42. Of course, it is far more plausible that more than 209

entities had been using the Accommodation all along. But if the hospital systems in fact were

just 100 of 409 total entities, for example, that used the Accommodation then assuming those

hospitals continue to insure 75% of all people covered by an accommodated plan is not

defensible. In this way, the number of entities assumed to have used the Accommodation prior to



                                                13
        Case 2:17-cv-04540-WB Document 260 Filed 11/13/20 Page 19 of 30




the rules affected the Agencies’ impact analysis. But even if that number was meaningless, as the

Agencies propose, Fed Opp’n at 25, it is unclear why using meaningless, unexplained numbers

makes the impact analysis less arbitrary.

       Third, the Agencies assumed that the 100 religious hospitals and health systems that

previously used the Accommodation would continue to do so based on public statements made

before an exemption was available to any of them. J.A. 41 n. 87. And immediately after citing

those public statements, the Agencies conceded that some of the hospitals and health systems

may make use of the exemption. J.A. 42. The context of these statements, rather than the forum

in which they were made, undermines their value. Contra Fed. Opp’n at 25–26; LS Opp’n at 33.

       Fourth, after estimating that 379,000 women receive insurance coverage from an entity

reasonably likely to use the exemption, the Agencies cut that estimate by two thirds because they

assumed the majority of the employers that started covering contraception because of the

mandate were not employers with religious objections to covering contraception. J.A. 45–46; see

also Pls.’ Mem. at 32–33. That very same assumption, however, was part of the Agencies’ initial

estimate that only 379,000 women received insurance coverage through an entity likely to use

the exemption. Indeed, the Agencies decided in the first place that only 6% of employers that

did not cover contraception before the mandate had not done so for religious reasons. J.A. 44 &

n.103. The unreasonable course here was using the same assumption twice: once on the front end

to lower the number of women who receive insurance from an entity likely to use the exemption,

and once more on the back end to cut that figure down to a third.

 II.   The Rules Are Contrary to Law

       A. The Religious Rule Violates the Establishment Clause

       While all agree that the Establishment Clause does not forbid the government from

accommodating religious beliefs, the Establishment Clause does limit how far the government

                                               14
        Case 2:17-cv-04540-WB Document 260 Filed 11/13/20 Page 20 of 30




may go to do so, and what consideration must be given to who will be harmed along the way.

For one, any accommodation may not foster religion. Corp. of Presiding Bishop of Church of

Jesus Christ of Latter-day Saints v. Amos, 483 U.S. 327, 334–35 (1987). For another, any

accommodation must be measured so as not to “override other significant interests,” Cutter v.

Wilkinson, 544 U.S. 709, 722 (2005), or provide any individual or entity an absolute right to

insist others conform to the accommodated entity’s religious beliefs, Estate of Thornton v.

Caldor, Inc., 472 U.S. 703, 710 (1985).

       Contrary to the defendants’ position, Fed. Opp’n at 33–34; LS Opp’n 39–40, the

Establishment Clause applies even when the government removes government-created burdens.

Defendants rely on Amos to argue otherwise, but since Amos the Supreme Court considered an

Establishment Clause challenge to the Religious Land Use and Institutionalized Persons Act

(RLUIPA) after that statute had been used to relieve “exceptional government-created burdens

on private religious exercise.” Cutter, 544 U.S. at 720. Using RLUIPA to relieve government-

created religious burdens, the Court resolved, was constitutionally permissible only because

RLUIPA requires that whatever accommodation is provided also accounts for “the burdens a

requested accommodation may impose on nonbeneficiaries.” Id.; accord Hobby Lobby, 573 U.S.

at 729 n.37.

       Here, even though the Religious Rule exempts employers from a regulatory obligation, it

may not foster a religious preference and must take into account harms to third parties. But

instead the new exemption causes women to lose contraceptive coverage even though there is an

alternative that in most, if not all, instances removes barriers to religious exercise while avoiding

the costs that women would otherwise bear. An accommodation that goes beyond what might




                                                 15
        Case 2:17-cv-04540-WB Document 260 Filed 11/13/20 Page 21 of 30




plausibly be construed as simply removing a barrier is a preference for religious interests over

others, as in Caldor.

       Due to that preference, 126,400 women will lose coverage for necessary care. The

relevant baseline for assessing the harm the Religious Rule causes is what coverage women are

entitled to without that rule. Contra Fed. Opp’n at 33. Having adopted guidelines recognizing

that contraceptive care is a preventive service for women, the Agencies cannot subsequently

issue a rule to accommodate religious beliefs without considering the very women Congress has

entitled to the coverage identified in those guidelines.

       Little Sisters argues that if the rules violate the First Amendment then the mandate must

too because some religious organizations, but not others, would be exempt from the mandate. LS

Opp’n at 15–17. That argument is far afield of this case, and, in any event, is not properly

directed at the mandate but at prior agency actions that created other exemptions. Nor is Our

Lady of Guadalupe School v. Morrissey-Berru, 140 S. Ct. 2049 (2020), relevant here. That case

concerns religious education at religious schools. As the Court stressed, “religious education and

formation of students is the very reason for the existence of most private religious schools” and

so “[j]udicial review of the way in which religious schools discharge those responsibilities would

undermine the independence of religious institutions.” Id. at 2055. Providing insurance coverage

to its employees does not go to the very reason any religious entity exists.

       B. The Rules Create an Unreasonable Barrier to the Availability of Appropriate
          Medical Care in Violation of Section 1554 of the Affordable Care Act

       Section 1554 of the Affordable Care Act bars the Secretary of HHS from issuing any

regulation that “creates any unreasonable barriers to the ability of individuals to obtain

appropriate medical care.” 42 U.S.C. § 18114(1). The rules do just that by making it more

difficult for women to obtain care that the Guidelines consider essential. J.A 312-A (calling


                                                 16
        Case 2:17-cv-04540-WB Document 260 Filed 11/13/20 Page 22 of 30




contraception “necessary for women’s health”); J.A. 433–34 (explaining that availability of

insurance without cost-sharing requirement promotes access to contraceptive acre).

       Section 1554 indeed provides a standard for judicial review. Contra Fed. Opp’n at 35

(citing Citizens to Preserve Overton Park, Inc. v. Volpe, 401 U.S. 402, 410 (1971)). Just recently,

two appellate courts sitting en banc considered whether agency action was not in accordance

with law because it violated Section 1554. Baltimore, 973 F.3d at 288–92; California by &

through Becerra v. Azar, 950 F.3d 1067, 1091–95 (9th Cir. 2020) (en banc). The Fourth Circuit

concluded that the agency action in that case—an HHS rule instructing doctors that receive Title

X funds not to refer patients for an abortion—unreasonably impeded access to medical care.

Baltimore, 973 F.3d at 288. Likewise, the rules here directly interfere with access to care by

preventing a patient from receiving insurance coverage that facilities access to that care. J.A.

433–34. That the rules act through employers does not change the barriers they erect.

        Defendants principally rely on the second case, California, see Fed Opp’n at 35–36; LS

Opp’n at 43–44, a Ninth Circuit decision ruling that the same agency action at issue in Baltimore

did not violate Section 1554. But the Ninth Circuit explained that the challenged rule only

“ensure[s] government funds are not spent for an unauthorized purpose,” which it distinguished

from what Section 1554 prohibits: “direct interference with certain health care activities.”

California, 950 F.3d at 1094 (citing Rust v. Sullivan, 500 U.S. 173, 200 (1991)). No matter

which court was right about how Section 1554 applies to HHS’s Title X regulation, the Ninth

Circuit’s reasoning is inapplicable here as the rules are not restrictions on the use of government

funds but instead directly interfere with contraceptive health care.

       Recognizing the unreasonable barrier that the rules erect would not impose any

affirmative obligation on the government. Contra Fed. Opp’n at 36. The Women’s Health



                                                 17
        Case 2:17-cv-04540-WB Document 260 Filed 11/13/20 Page 23 of 30




Amendment requires insurers to cover the essential forms of care that the Guidelines identify,

which include contraceptive care. The rules operate against that baseline. Because of the rules

alone, over 124,000 women will lose insurance coverage for a form of care that the Guidelines

define as essential. That is an unreasonable barrier.

       C. The Rules Violate the Equal Protection Provisions of the Fifth Amendment

       The ACA’s preventive service section identifies several categories of care that group

insurers must cover. Of those categories, one is specific to women. 42 U.S.C. § 300gg-13(a)(4).

That is the only category of care for which the Agencies have created exemptions. By subjecting

just women’s care to lesser protection, the rules embody the Agencies’ discriminatory treatment.

       That discrimination is not incidental—it is the very design of the rules to target only the

part of the preventive service provision that applies exclusively to women. In fact, the

President’s Executive Order the preceded the rules specifically directed the Agencies to consider

issuing regulations that address objections to those services provided under the Women’s Health

Amendment and said nothing about any other services mandated by the ACA or any other law.

J.A. 167. And the Women’s Health Amendment was enacted to address the “fundamental

inequity in the current system” and to stop the “punitive practices of insurance companies”

toward women. J.A. 2437, 2378. Then-existing preventive services guidelines were not written

with women in mind and so left out certain essential services for women. J.A 313–561.

       Because the rules discriminate on the basis of sex, the sex-based classification must be

able to survive intermediate scrutiny. United States v. Virginia, 518 U.S. 515, 533 (1996). The

classification itself needs “an exceedingly persuasive justification.,” Alabama ex rel. T.B., 511

U.S. 127, 137 (1994), which requires showing the classification “serves important governmental

objectives” and that its discriminatory means are “substantially related to the achievement of

those objectives.” Virginia, 518 U.S. at 533. So, to say that there are good reasons to exempt
                                                 18
        Case 2:17-cv-04540-WB Document 260 Filed 11/13/20 Page 24 of 30




certain insurers from their obligations to cover contraception for women, see Fed. Opp’n at 38;

LS Opp’n at 42, leaves the relevant issue—the reason for the sex-based distinction—

unaddressed. Contraceptive care is not “the sole form of health care that implicates religious

concerns.” Grote v. Sebelius, 708 F.3d 850, 866 (7th Cir. 2013). Without any explanation for

why the sex-based classification is justified, the rules cannot survive intermediate scrutiny.

       D. The Rules Violate Section 1557 of the ACA and Title VII of the Civil Rights Act

       Because the rules create exemptions only from requirements to cover women’s

preventive services, supra Section. II.C, the rules also violate Section 1557 of the ACA and Title

VII of the Civil Rights Act, each of which prohibits sex-based discrimination. And because the

rules treat women differently, the Agencies’ arguments about a disparate impact theory are

beside the point. See Fed. Opp’n at 40–41.

       So, too, are arguments about the absence of an employment relationship between the

Agencies and the States, which has no bearing on whether the rules are “in accordance” with

Title VII’s prohibition of sex-based against employees. Contra Fed. Opp’n at 39–40.4

Application of Title VII here is no different than in New York v. U.S. Department of Health &

Human Services, 414 F. Supp. 3d 475 (S.D.N.Y. 2019), a case vacating a separate HHS rule. In

New York, the court reviewed an HHS rule that interpreted several statutes pertaining to

conscience exemptions in medical contexts. Id. at 496. The rule defined “discrimination” for

which an employer may be liable as including the failure to accommodate an employee’s

religious beliefs, even if an accommodation would cause undue hardship to the employer. Id. at


       4
         At most, the lack of an employment relationship between the States and the Agencies
matters insofar as Title VII itself does not provide the States recourse for the conflict between the
rules and that statute. 42 U.S.C. § 2000e-5. For this reason, at a minimum, Title VII’s
enforcement mechanism is not an alternative remedy that forecloses judicial review under the
Administrative Procedure Act. Contra Fed. Opp’n at 40.

                                                 19
        Case 2:17-cv-04540-WB Document 260 Filed 11/13/20 Page 25 of 30




513–14. For that reason, an HHS grant recipient could be liable to the agency for actions that

complied with Title VII. Id. at 514. Similarly, an employer could be liable for discrimination

under the rule even if the employer offered a reasonable accommodation for the employee’s

religious beliefs; that, too, contradicted Title VII. Id. at 514–15. Because the rule regulated

employment relationships inconsistent with Title VII, the rule was not in accordance with the

law. Id. at 536–37. Here, the rules allow employers to single out women for lesser treatment by

allowing employers to remove health care coverage only from their female employees’ benefit

packages. In that way, they authorize conduct that Title VII prohibits. Pls.’ Mem. at 40–43.

       Little Sisters’ final argument—that the States’ are using Title VII as a backdoor means of

creating a nationwide contraceptive mandate—once more ignores the applicable baseline. The

ACA creates a right to coverage for several forms of preventive care. For women, the ACA and

the Guidelines work in concert to create a right to contraceptive coverage. The issues here

revolve around rules that single out coverage of that care for exemptions, not whether that

coverage must be provided in the first instance.

       Section 1557 also prohibits discrimination on the “ground prohibited under . . . title IX of

the Education Amendment of 1972 (20 U.S.C. § 1681 et seq.).” 42 U.S.C. § 18116(a). The

“ground” is discrimination on the basis of sex. 20 U.S.C. § 1681(a). That Congress has allowed

educational institutions controlled by religious organizations to discriminate on the basis of sex

when compelled by a religious tenet, 20 U.S.C. § 1681(a)(3), does not speak to what “ground” of

discrimination Title IX prohibits. Contra LS Opp’n at 44. One district court has held that Section

1557’s reference to the “ground prohibited” under Title IX includes the religious exemption, but

its reasoning should not be followed. That court read Section 1557 to allow sex-based

discrimination by a religious institution solely because Section 1557 uses the phrase “et seq.” in



                                                   20
        Case 2:17-cv-04540-WB Document 260 Filed 11/13/20 Page 26 of 30




a parenthetical citation for where Title IX is codified. Franciscan Alliance, Inc. v. Burwell, 227

F. Supp. 3d 660, 690 (N.D. Tex. 2016). But a citation for where to find Title IX in the U.S. Code,

however styled, does not change that Section 1557 prohibits discrimination on the “ground”

identified in Title IX: on the basis of sex.

III.    The States Have Standing

        By now, the States’ standing is settled. The rules “inflict a direct injury upon the States

by imposing substantial financial burdens on their coffers.” Pennsylvania I, 351 F. Supp. 3d at

807. With the rules having just taken effect for the first time, those harms are impending, and the

States need not wait for the women who will lose coverage to start turning to state-funded

programs to bring suit. Id. The Third Circuit agreed that the States have established a certainly

impending injury as the rules themselves anticipate that women in Pennsylvania and New Jersey

will lose contraceptive coverage. Pennsylvania II, 930 F.3d at 562. Those women will turn to

state resources. Id. at 563.5

        Nevertheless, the Little Sisters continues to press rejected arguments. See LS Opp’n at 7.

The absence of a particular person who will turn to state-funded resources does not defeat

standing. Pennsylvania II, 930 F.3d at 564. Nor is the record on which the Third Circuit

previously assessed the States’ standing insufficient now. The record reveals that the rules will

deprive women of insurance coverage, causing women to rely on state programs. Id. at 562–63.

These injuries are as real now as they were earlier.

        Redressability is no more an issue than injury-in-fact. Little Sisters suggests that no

matter what happens to the rules, the Guidelines themselves now contain the rules’ exemptions

        5
        At oral argument, Justice Thomas raised the States’ standing. Transcript of Oral
Argument at 31–32, 55–58, Little Sisters of the Poor Saints Peter and Paul Home, 140 S. Ct.
2367 (2020) (Nos. 19-431 & 19-454). If the Court doubted the States’ standing, it would have
had no choice but to rule on that jurisdictional issue.

                                                 21
        Case 2:17-cv-04540-WB Document 260 Filed 11/13/20 Page 27 of 30




and will live on independent of the rules. LS Opp’n at 9–10. But the Guidelines do not

independently create exemptions from their otherwise generally applicable requirements. They

merely reflect the rules’ direction that certain employers are exempt. The rules themselves

“delineat[e] what exemptions and accommodations apply if [the Health Resources and Services

Administration] lists contraceptives in the Guidelines.” J.A. 8; see also J.A. 88–89. Indeed, the

rules’ legal conclusion was that the Agencies “are legally authorized to exempt certain entities or

plans from a contraceptive Mandate if HRSA decides to otherwise include contraceptives in its

Guidelines.” J.A. 10; accord J.A. 61. Exemptions from the Guidelines always have been the

work of the Agencies, not HRSA; prior exemptions resulted from regulations the Agencies

promulgated to “guide HRSA in exercising its discretion.” J.A. 3; see also J.A. 6 (“The

Departments defined the scope of the exemption to the contraceptive Mandate when HRSA

issued its Guidelines for contraceptive coverage in 2011, and then amended and expanded the

exemption and added an accommodation process in multiple rulemakings thereafter.”). Little

Sisters incorrectly cites the Supreme Court for the conclusion that the Agencies’ regulations and

HRSA’s guidelines each “may limit the other’s effects,” LS Opp’n at 10, when in fact the

Supreme Court observed only that the Guidelines are subject to any lawfully-created agency

exemption, Little Sisters, 140 S. Ct. at 2374. The exemptions now contained in the Guidelines

merely reflect the Agencies having limited the Guidelines’ effect.

       Separately, no injunction obtained against the mandate is an obstacle to relief. Contra LS

Opp’n at 10–11. Women insured by an entity covered by an injunction at the time the rules were

promulgated were excluded from the Agencies’ estimate of the rules’ impact. J.A. 40– 41. And

existing injunctions do not resolve the rules’ application to entities that need not show a right to

relief under RFRA. Nor does the injunction entered in DeOtte v. Azar, 393 F.Supp. 3d 490 (N.D.



                                                 22
        Case 2:17-cv-04540-WB Document 260 Filed 11/13/20 Page 28 of 30




Tex 2019) pose a redressability problem. For one, that injunction is currently on appeal. DeOtte

v. Azar, No. 19-10754 (5th Cir.). And even if the class-wide injunction, which suffers from both

imprecision and over breadth as to the class members, survives, that injunction does not apply to

health plans from colleges and universities or to the Moral Rule.

IV.    Little Sisters’ Other Arguments Should Be Rejected

       Little Sisters also attacks the contraceptive mandate on two grounds that, it argues,

deprive the States of any redressable injury. These arguments are well beyond the scope of this

case, which is not about any challenge to the mandate. They also are well outside the purpose of

the Little Sisters’ intervention, which is “defending the portions of the religious exemption

[interim final rule] that apply to religious nonprofit entities.” Pennsylvania v. President, 888 F.3d

52, 62 (3d Cir. 2018). In any event, on the substance each argument is easily refuted.

       First, Little Sisters invokes the non-delegation doctrine, which stops Congress from

assigning responsibility to an agency without also providing an intelligible principle to guide the

agency’s exercise of its responsibility. Gundy v. United States, 139 S. Ct. 2116, 2123 (2019)

(plurality). Only two statutes have ever failed that standard. Id. at 2129. There is no reason for

the Women’s Health Amendment to be the third. The Guidelines are to include services that are:

(1) for women, (2) preventive, and (3) exclusive of services that the United States Preventive

Task Force recommends. That is an intelligible principle for what the Guidelines shall include.

       Second, Little Sisters reference the Appointments Clause, which requires that “Officers

of the United States” are appointed by the President and confirmed by the Senate. U.S. Const.

art. II, § 2 cl. 2. Little Sisters wrongly suggests that the Women’s Health Amendment puts the

HRSA Administrator in a position akin to an SEC administrative law judge, an office the

Supreme Court recently said is subject to the Appointments Clause. Lucia v. SEC, 138 S.Ct.

2044, 2053 (2018). But in Lucia, the Court’s analysis began from the premise that those judges
                                                 23
        Case 2:17-cv-04540-WB Document 260 Filed 11/13/20 Page 29 of 30




have “extensive powers” over the parties that come before them. Id. at 2049. Unlike the

decisions of those judges, the Guidelines have no independent force. Congress has directed

insurers to comply with the Guidelines, and compliance is defined by the Agencies. See 45

C.F.R. Part 147. And the Women’s Health Amendment does not charge HRSA’s Administrator

with any duties; it taps HRSA, a division of HHS, to support the development of preventive

health guidelines for women. Whatever else might be said about statutes that assign power to the

Administrator is both outside the scope of this case and, in any event, inapposite.

 V.    The Rules Must Be Vacated

       Finally, the remedy here is to “set aside” the rules in all applications. 5 U.S.C. § 706(2).

Given the harms that the States will experience because of the rules, there was no warrant even at

the preliminary injunction stage for the rules not to be enjoined nationwide. Pennsylvania I, 351

F. Supp. 3d at 830–35. There is even less now that the case has arrived at the final judgment

stage. At this stage, “courts invalidate—without qualification—unlawful administrative rules as a

matter of course, leaving their predecessors in place until the agencies can take further action.”

Pennsylvania II, 930 F.3d at 575.

       The Supreme Court recently confirmed as much. Dep’t of Homeland Sec. v. Regents of

the Univ. of Cal., 140 S. Ct. 1891, 1916 n.7 (2020). In one of the cases consolidated before the

Court in Regents, the district court had entered final judgment for the plaintiffs and vacated the

challenged agency action. Nat’l Ass’n for the Advancement of Colored People v. Trump, 315 F.

Supp. 3d 457, 473–74 & n. 13 (D.D.C. 2018). Affirming that relief obviated any need to consider

the propriety of nationwide injunctions entered in the remaining consolidated cases. Regents, 140

S. Ct. at 1916 n.7. The implication, of course, is that the two forms of relief are co-extensive.

       Nor is there any basis to sever certain parts of the rules. When only some parts of a

regulation are unlawful, they may be set aside and the rest of the regulation saved. See K Mart
                                                 24
        Case 2:17-cv-04540-WB Document 260 Filed 11/13/20 Page 30 of 30




Corp. v. Cartier, Inc., 486 U.S. 281, 294 (1988). But severance is possible only if a regulation’s

flawed elements are confined to discrete provisions. The principal defects here—the failure to

craft rules that reasonably respond to a reasonably identified problem and the failure to conform

with the law—infect the rule entirely. Neither defendant identifies a part of either rule that could

be salvaged if the States prevail. Sure enough, no aspect of the rules is spared from all of flaws in

the rationale the Agencies have offered for the rules, the Agencies’ inadequately explained

change of position, the rules’ constitutional conflict, and the rules’ failure to be in accord with

federal statutes. And finally, there is no waiver on this point. Contra LS Opp’n at 36. Defendants

have raised severability in their respective opening briefs. The States are now responding.

                                          CONCLUSION

       For the reasons above, the States’ Motion for Summary Judgment should be granted,

defendants’ motions for summary judgment should be denied, and the rules should be vacated.

November 13, 2020                                  Respectfully submitted,

GURBIR S. GREWAL                                   JOSH SHAPIRO
Attorney General                                   Attorney General
State of New Jersey                                Commonwealth of Pennsylvania

MELISSA L. MEDOWAY                                 MICHAEL J. FISCHER
                                                   Chief Deputy Attorney General
/s/ Elspeth Faiman Hans
ELSPETH FAIMAN HANS                                /s/ Jacob B. Boyer
Deputy Attorneys General                           JACOB B. BOYER
New Jersey Attorney General’s Office               AIMEE D. THOMSON
Richard J. Hughes Justice Complex                  Deputy Attorneys General
25 Market Street                                   Office of Attorney General
Trenton, NJ 08625                                  1600 Arch Street, Suite 300
(609) 376-2752                                     Philadelphia, PA 19103
elspeth.hans@law.njoag.gov                         (267) 768-3968
                                                   jboyer@attorneygeneral.gov




                                                 25
